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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________

UNITED STATES OF AMERICA

                              Plaintiff
           vs.                                         8:07-CR-200
                                                           (GLS)
DANNY THERIAULT,

                       Defendant.
______________________________________

APPEARANCES:                        OF COUNSEL:

FOR THE UNITED STATES:

Hon. Glenn T. Suddaby         CARL G. EURENIUS
United States Attorney        Assistant U.S. Attorney
100 South Clinton Street
Syracuse, New York 13261-0663

FOR DANNY THERIAULT:

Office of William J. Gray           WILLIAM J. GRAY, ESQ.
112 State Street
Albany, New York 12207

Gary L. Sharpe
District Court Judge

                            Decision and Order

     Together with six others, Danny Theriault has been charged with

marijuana distribution and importation conspiracies. See Indictment, Dkt.

No. 1; see also 21 U.S.C. §§ 846, 963. Pending are omnibus cross-
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motions filed by the government and Theriault. See FED. R. CRIM. P. 12(b);

see also Gov’t Motion, Dkt. Nos. 64, 66-67; Theriault Motion, Dkt. Nos. 74,

76-77; Gov’t Response, Dkt. No. 79.

       In discovery, the government disclosed statements made by Theriault

to the police. See FED. R. CRIM. P. 16(a)(1)(B); see also Gov’t Summary of

Rule 16 Disclosures, Dkt. No. 79-3. The government and Theriault agree

that the admissibility of those statements is dependent on the court’s

decision following a suppression hearing. The parties agree that if the

statements are admissible, the court should grant the government’s motion

to sever Theriault because his statements will prejudice his co-defendants.1

See FED. R. CRIM. P. 14. Therefore, the government’s motion to sever

Theriault for trial is denied with leave to renew following the court’s decision

on Theriault’s motion to suppress.

       Turning to the remaining relief sought by Theriault, he requests

judicial review of the grand jury minutes to determine if sufficient evidence

supports the charge of “Kidnaping in the Second Degree.” The court



       1
         Theriault’s agreement is difficult to discern because he simultaneously moves to sever,
but opposes the government’s motion to sever. A fair reading of his opposition reflects his
belief that his statements should be suppressed which would then negate the basis for the
government’s motion. Of course, that does not explain his motion to sever. In any event, he
provides no factual or legal support for his motion. Therefore, to the extent he separately seeks
severance, his motion is denied.

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presumes that Theriault has simply extracted boilerplate from an unrelated

state court motion because there is no kidnaping charge in this federal

indictment. In any event, the motion fails to establish or even assert

“particularized need” or “compelling necessity,” either of which might

support his application. See United States v. Elliott, 363 F. Supp. 2d 439,

451 (N.D.N.Y. 2005) (citations omitted). Therefore, it is denied. Theriault

also seeks to join co-defendants’ motions. His motion is denied as moot

since there are no such motions.

      Lastly, Theriault seeks a bill of particulars specifying all conspiratorial

acts and other evidentiary details related to the indicted conduct. See Gray

Aff., Dkt. No. 74; Supplemental Theriault MOL, Dkt. No. 74-2; see also FED.

R. CRIM. P. 7(f). While the decision to grant his request is discretionary,

see United States v. Chen, 378 F.3d 151, 162-63 (2d Cir. 2004), the

exercise of that discretion is dependent on a demonstrated need to prepare

a defense or avoid surprise at trial. See United States v. Torres, 901 F.2d

205, 234 (2d Cir. 1990) (citations omitted). Theriault has demonstrated no

such need. Furthermore, acquisition of evidentiary detail is not the purpose

of a bill of particulars. Id. at 234. So too, extensive discovery disclosed by

the government together with supplemental oral and written disclosures


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can obviate the need for a bill of particulars. See Chen, 378 F.3d at 163.

Here, not only did the government fully comply with its discovery

obligations, it even disclosed a copy of its power point presentation to the

grand jury. See Gov’t Summary of Rule 16 Disclosures, Dkt. No. 79-3.

Additionally, the indictment details the manner and means by which the

named co-conspirators committed the offenses. See Indictment at pp. 2-3,

Dkt. No. 1; cf. Elliott, 363 F. Supp. 2d at 450. And, the government has

recited further evidentiary detail in its motion response. See Gov’t

Response, Dkt. No. 79-3. When a conspiracy is charged, the government

need not disclose the date a defendant is alleged to have joined the

conspiracy, other known and unknown co-conspirators, precise dates and

locations when and where the defendant assisted the conspiracy, and the

means by which the defendant furthered the conspiracy. See United

States v. Cephas, 937 F.2d 816, 823 (2d Cir. 1991). Accordingly,

Theriault’s motion for a bill of particulars is denied.

      For the reasons recited herein, it is hereby

      ORDERED that the government’s motion for a severance (Dkt. Nos.

64, 66-67) is DENIED with leave to renew following a suppression hearing;

and it is further


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      ORDERED that Theriault’s motion seeking judicial review of the

grand jury minutes, severance, permission to join co-defendants’ motions,

and a bill of particulars is DENIED; and it is further

      ORDERED that the Clerk schedule a suppression hearing.

      SO ORDERED.

Date: December 12, 2007
      Albany, New York




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